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                                               No. 24-5566


                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE NINTH CIRCUIT
                                          ____________________

                                          GARY SANCHEZ,
                                                  Plaintiff and Appellant,

                                                    V.

                             ROB BONTA, IN HIS OFFICIAL CAPACITY AS
                           ATTORNEY GENERAL OF THE STATE OF CALIFORNIA,
                                                 Defendant and Appellee.
                                         ____________________

                           On Appeal from the United States District Court
                               for the Southern District of California
                                      No. 24-cv-767-RSH-MSB
                                 Hon. Robert S. Huie, District Judge
                                         ____________________

                                APPELLEE’S ANSWERING BRIEF
                                         ____________________

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                                              INTRODUCTION

                  California has prohibited the possession of firearm silencers for nearly a

             century. Cal. Penal Code § 33410; see 1933 Cal. Stat., ch. 39, at 329–30. These

             devices attach to a firearm and are designed to silence, diminish, or muffle the

             sound associated with discharge of the weapon. Cal. Penal Code § 17210. Given

             their inherent design and function, silencers render it more difficult for potential

             victims to detect and flee from a shooting and for law enforcement to locate and

             neutralize a shooter. Because they are particularly dangerous firearm accessories

             and exacerbate the lethality of firearms, silencers have been heavily regulated by

             states and the federal government since the early 1900s.

                  Plaintiff and Appellant Gary Sanchez filed a pro se complaint in district court

             challenging the constitutionality of California’s prohibition on silencers. He

             argued that the devices are protected by the Second Amendment and that

             California’s prohibition is contrary to the Nation’s history and tradition of

             permissible firearms regulation. The district court rejected plaintiff’s claim and

             dismissed the complaint without leave to amend.

                  That judgment was appropriate and should be affirmed. Under the analytical

             framework articulated in New York State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1

             (2022)—which asks whether the challenged law burdens presumptively protected

             conduct and, if so, whether the law is consistent with principles of historical



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             firearm regulation—the district court correctly held that plaintiff’s constitutional

             challenge failed at the threshold stage of the analysis. Silencers are neither

             bearable “Arms” nor integral components that are necessary for the operation of a

             firearm. They have no intrinsic self-defense purpose or utility in the case of

             confrontation. The district court’s dismissal fits squarely within a uniform

             consensus of the federal courts that silencers are not presumptively protected by

             the text of the Second Amendment.

                  This Court need go no further. Yet plaintiff’s challenge was also deficient at

             the threshold inquiry for reasons not addressed by the district court. The complaint

             did not plausibly allege that silencers are commonly used for ordinary self-defense.

             See Bruen, 597 U.S. at 32. Although the devices alter the shooting experience,

             their intrinsic characteristics do not evidence any utility for armed self-defense,

             and plaintiff made no allegations to that effect. Moreover, these inherent

             characteristics demonstrate that silencers are a type of “dangerous and unusual”

             item that is not covered by the Second Amendment’s presumptive protection. See

             Bruen, 597 U.S. at 21.

                  And even if plaintiff could have shown that silencers are protected “Arms” at

             the first stage of the Bruen analysis, California’s prohibition fits well within the

             Nation’s historical tradition of firearms regulation. See Bruen, 597 U.S. at 19.

             Like its historical predecessors from the founding era through the twentieth


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             century, the challenged statute rests on the well-established principle that

             exceedingly dangerous weapons and items may be banned from public circulation,

             imposing a comparable burden on the right to armed self-defense and promoting

             comparable public-safety justifications. California’s prohibition is thus

             constitutionally permissible because it is “relevantly similar” to an unbroken chain

             of historical weapons regulation. See United States v. Rahimi, 144 S. Ct. 1889,

             1898 (2024); Bruen, 597 U.S. at 29–30.

                                    STATEMENT OF JURISDICTION
                  This Court has jurisdiction over this appeal from the district court’s final

             judgment under 28 U.S.C. § 1291. On August 28, 2024, the district court issued an

             order dismissing plaintiff’s constitutional challenge to California Penal Code

             § 33410 and entered a final judgment. 1-SER-3–9. Plaintiff timely appealed the

             decision and judgment on September 6, 2024. 2-SER-34–39. The district court

             had subject matter jurisdiction over plaintiff’s federal constitutional claims under

             28 U.S.C. § 1331.

                                      STATEMENT OF THE ISSUES
                  Whether California’s prohibition on the possession of firearm silencers under

             California Penal Code § 33410 comports with the Second Amendment to the

             United States Constitution.




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                             ADDENDUM OF STATUTORY PROVISIONS

                  An addendum of pertinent statutory provisions has been filed with this brief.

             Ninth Cir. R. 28-2.7.

                                       STATEMENT OF THE CASE

                  A.    History of Firearm Silencers and California’s Restrictions
                  A firearm silencer, sometimes referred to as a suppressor, is a device that,

             when attached to a functioning firearm, muffles the sound of the discharge of the

             firearm. Silencers were first patented in 1908. United States v. Comeaux, 2024

             WL 115929, at *3 (W.D. La. Jan. 10, 2024). Almost immediately after these

             devices were patented, states began to ban their sale and possession. Id.; see, e.g.,

             1909 Me. L., ch. 129, p. 141; 1911 N.J. Laws, ch. 128, p. 185; 1912 Vt. Acts &

             Resolves, No. 237, p. 310; 1913 Minn. L., ch. 64, p. 55. Congress later included

             restrictions on silencers in the National Firearms Act of 1934, requiring purchasers

             to pay a fee and pass a background check. See Sonzinsky v. United States, 300

             U.S. 506, 511–12 (1937); Comeaux, 2024 WL 115929, at *3.

                  In California, possession of a silencer has been prohibited since 1933. See

             1933 Cal. Stat., ch. 39, pp. 329–30. California Penal Code Section 33410 states,

             “Any person, firm, or corporation who within this state possesses a silencer is

             guilty of a felony and upon conviction thereof shall be punished by

             imprisonment . . . or by a fine not to exceed ten thousand dollars ($10,000), or by

             both that fine and imprisonment.” Under California law, a “silencer” is defined as

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             “any device or attachment of any kind designed, used, or intended for use in

             silencing, diminishing, or muffling the report [i.e., sound of the discharge] of a

             firearm,” as well as “any combination of parts, designed or redesigned, and

             intended for use in assembling a silencer or fabricating a silencer and any part

             intended only for use in assembly or fabrication of a silencer.” Cal. Penal Code

             § 17210.

                  B.    Procedural History
                  In April 2024, plaintiff filed a complaint, alleging that California Penal Code

             Section 33410 violates the Second and Fourteenth Amendments to the United

             States Constitution on its face. 2-SER-24. He sought declaratory judgment to that

             effect, as well as an injunction against enforcement of Section 33410 in its entirety.

             2-SER-25. The papers attached to plaintiff’s complaint indicated that he sought to

             create and use a homemade, 3D-printed silencer. 2-SER-26. The proposed

             silencer, which plaintiff unsuccessfully sought federal authorization to fabricate

             and register, was intended for use with 5.56mm caliber rounds. Id. 1 The federal

             authorization was denied on the grounds that silencers are unlawful in California

             under state law. 2-SER-33.




                    5.56mm NATO rounds are commonly used with the M16 rifle (a fully
                    1

             automatic machinegun) and semiautomatic, assault-style rifles. See Wood v.
             Arnold, 321 F. Supp. 3d 565, 572 n.6 (D. Md. 2018).

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                  A few months later, on the Attorney General’s motion, the district court

             ordered plaintiff’s complaint dismissed without leave to amend. 1-SER-3–9. The

             court held that silencers are not “Arms” protected by the Second Amendment. 1-

             SER-6–8. A silencer, the court explained, is neither “a weapon in itself,” nor an

             accessory that is necessary “to the essential operation of a firearm.” 1-SER-8.

             Because “silencers are not ‘bearable arms’ for purposes of the Second

             Amendment,” the court concluded that plaintiff failed to state a claim. Id. A final

             judgment closing the case was entered on the same day. 1-SER-2.

                  Plaintiff filed a timely notice of appeal in September 2024. 2-SER-34–39.

                                    SUMMARY OF THE ARGUMENT
                  The district court properly rejected plaintiff’s challenge to California’s

             statutory prohibition on firearm silencers, concluding that the devices are not

             protected as “Arms” under the Second Amendment’s text. Under Bruen’s

             threshold inquiry, plaintiff was required to establish that possession of a silencer is

             presumptively protected by the Second Amendment. Bruen, 597 U.S. at 24; B & L

             Prods., Inc. v. Newsom, 104 F.4th 108, 112 (9th Cir. 2024), pet. for cert. filed,

             No. 24-598 (U.S. Dec. 3, 2024). But silencers are not bearable “Arms” under the

             original understanding of that term because they are not weapons of offense or

             defense capable of casting at or striking another. See District of Columbia v.

             Heller, 554 U.S. 570, 581 (2008). The device merely muffles and diminishes the



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             sound and flash associated with discharging a firearm. They have no inherent

             utility in ordinary self-defense.

                  Nor do silencers fit within the Second Amendment’s text as a component

             integral to operation of a firearm. Although the Second Amendment includes

             certain ancillary rights necessary for realization of its core self-defense right, see

             B & L Prods., Inc., 104 F.4th at 118, a silencer is not necessary to effectuate armed

             self-defense. The device merely alters the experience of shooting an otherwise

             operable firearm. Like a multitude of courts both pre- and post-Bruen, the district

             court correctly held that silencers are not bearable “Arms” and thus not entitled to

             constitutional protection.

                  Plaintiff’s Second Amendment claim fails as a matter of law for additional

             reasons not considered by the district court. In his complaint, plaintiff did not

             plausibly allege that silencers are in common use for self-defense. See Bruen, 597

             U.S. at 32. While he claimed that over three million silencers are privately owned

             in the United States and that they provide a shooter with certain benefits, plaintiff

             failed to allege that these devices are used with any regularity in self-defense

             scenarios.

                  In addition, silencers fit within a category of inherently “dangerous and

             unusual” items that, whatever their purported self-defense utility, lack

             presumptively constitutional protection. See Bruen, 597 U.S. at 21; Heller, 554


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             U.S. at 627. By muffling the sound and flash associated with gunfire, a silencer

             renders it more difficult for potential victims to identify and flee from a shooter, as

             well as for law enforcement to locate and confront the threat. See, e.g., Comeaux,

             2024 WL 115929, at *3. These fundamentally dangerous characteristics have

             justified regulation and prohibitions on such devices for well over a century.

                  Even if plaintiff could show that silencers were presumptively protected at

             Bruen’s first step, California’s prohibition is consistent with the Nation’s historical

             tradition of firearms regulation. Bruen, 597 U.S. at 19. From the colonial and

             early founding eras, to the antebellum and postbellum period, and into the

             twentieth century, the historical record demonstrates regulation of weapons in

             accordance with a uniform principle: that uniquely dangerous weapons may be

             banned. California’s prohibition on silencers, which is based on the device’s

             exceeding dangerousness, fits well within that tradition. See Rahimi, 144 S. Ct. at

             1901; Bruen, 597 U.S. at 29–30.

                                         STANDARD OF REVIEW

                  The district court entered a final judgment dismissing plaintiff’s complaint

             without leave to amend. 1-SER-3–9. The Court reviews an order granting a

             motion to dismiss de novo, accepting all nonconclusory factual allegations in the

             complaint as true. D’Augusta v. Am. Petroleum Inst., 117 F.4th 1094, 1100 (9th

             Cir. 2024).



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                                                 ARGUMENT

                  Contrary to plaintiff’s claim, the district court properly dismissed his Second

             Amendment challenge to California’s prohibition on firearm silencers. Appellant’s

             Informal Opening Br. (AOB) at 2–4. Plaintiff argues that the court misapplied

             Heller and Bruen, and that those cases “support[] the notion that silencers are

             arms” protected by the Second Amendment’s text. AOB at 2, 4. As explained

             below, however, the district court’s conclusion that possession of silencers is not

             presumptively protected at Bruen’s threshold stage was not only analytically

             correct, but is consistent with the decisions of every other court that has addressed

             the issue. Because plaintiff failed to satisfy his initial burden under the Bruen

             standard, this Court should affirm. Additionally, even if the Court were to assume

             that silencers were presumptively protected by the Second Amendment’s text, the

             State has shown that its prohibition on the possession of firearms is consistent with

             historical principles of firearm regulation.

             I.   PLAINTIFF CANNOT ESTABLISH THAT SILENCERS ARE PRESUMPTIVELY
                  PROTECTED BY THE SECOND AMENDMENT

                  The Second Amendment “codified a pre-existing right.” Heller, 554 U.S. at

             592. “‘[L]ike most rights, the right secured by the Second Amendment is not

             unlimited.’” Bruen, 597 U.S. at 21 (quoting Heller, 554 U.S. at 626). It has never

             been understood as “‘a right to keep and carry any weapon whatsoever,’” id.




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             (quoting Heller, 554 U.S. at 626), and Heller confirms that certain weapons and

             instruments “may be banned,” Heller, 554 U.S. at 627.

                  Under Bruen, the threshold question is whether a plaintiff has carried their

             burden to establish that “the Constitution presumptively protects” their proposed

             course of conduct. Bruen, 597 U.S. at 24; B & L Prods., Inc., 104 F.4th at 119;

             United States v. Perez-Garcia, 96 F.4th 1166, 1180 (9th Cir. 2024). To answer

             that question, the Court addresses whether “the Second Amendment’s plain text

             covers” the plaintiff’s proposed course of conduct. Bruen, 597 U.S. at 24. That

             inquiry considers “the normal and ordinary meaning of the Second Amendment”

             informed by its “historical background.” Id. at 20 (internal quotation marks

             omitted).

                  Where a plaintiff contends that possession of a prohibited item is covered by

             the Second Amendment, the plaintiff bears an initial burden to establish that the

             item fits within the definition of “Arm,” as that term was originally understood—

             either as a weapon itself or a component integral to the operation of a weapon. See

             Heller, 554 U.S. at 581; see also United States v. Alaniz, 69 F.4th 1124, 1128 (9th

             Cir. 2023) (detailing different elements of threshold inquiry). Failure to do so is

             fatal to the constitutional claim. Bruen, 597 U.S. at 18. But even where a plaintiff

             can meet that burden, the Supreme Court has emphasized that not every “type of

             weapon” is “eligible for Second Amendment protection.” Heller, 554 U.S. at 622.


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             In determining what types of weapons fall within the scope of the Second

             Amendment at step one of the Bruen framework, the Supreme Court has clarified

             that only “weapons ‘in common use’ today for self-defense” are eligible for

             protection, Bruen, 597 U.S. at 32 (quoting Heller, 554 U.S. at 627), while

             “‘dangerous and unusual weapons’” may be banned, Heller, 554 U.S. at 627; see

             also Duncan v. Bonta, 83 F.4th 803, 810 (9th Cir. 2023) (en banc) (Bumatay, J.,

             dissenting) (“‘Arms’ refers to ‘weapons “in common use” today for self-

             defense.’ Such a definition excludes ‘dangerous and unusual weapons.’” (citations

             omitted)). Plaintiff’s constitutional challenge fails Bruen’s initial inquiry in every

             respect.

                  A.    Silencers Are Not “Arms”
                  Under Bruen’s text-and-history standard, a silencer is not an “Arm[].”

             Although the meaning of the term “Arms” is broad, see Heller, 554 U.S. at 581, it

             is “fixed according to its historical understanding,” Bruen, 597 U.S. at 28. To that

             end, Heller explained that an instrument need not have existed at the time of the

             founding to fall within the scope of the Second Amendment, but it still must fit

             within the founding-era understanding of an “Arm[].” Heller, 554 U.S. at 581.

             Citing multiple dictionary definitions from the relevant time period, the Supreme

             Court has defined “Arms” as “‘[w]eapons of offence, or armour of defence,’” id.

             (quoting 1 Dictionary of the English Language 106 (4th ed.)), and “‘any thing that



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             a man wears for his defence, or takes into his hands, or useth in wrath to cast at or

             strike another,’” id. (quoting 1 A New and Complete Law Dictionary).

                  A firearm silencer falls outside that historical understanding of the term

             “Arms.” While the complaint below did not articulate a definition of silencers, the

             term “silencer” is defined by statute as “any device or attachment of any kind

             designed, used, or intended for use in silencing, diminishing, or muffling the report

             of a firearm.” Cal. Penal Code § 17210 (referencing Cal. Penal Code § 33410).

             Such a “device or attachment” necessarily cannot constitute an “Arm” within the

             meaning of the Second Amendment because it cannot be used to “cast at or strike

             another” and has no intrinsic usefulness as a weapon in the case of confrontation.

             Heller, 554 U.S. at 581. A silencer has neither inherent offensive nor defensive

             capability, but rather, is a firearm accessory that has no self-defense purpose. See

             United States v. Cox, 906 F.3d 1170, 1186 (10th Cir. 2018) (concluding that

             silencers are not “bearable arms” covered by the Second Amendment). 2

                  Nor can plaintiff establish that silencers are subsumed within the textual

             definition of “Arms” as a protected component integral to the operation of a

             firearm. This Court has explained that the Second Amendment “also ‘protects

             ancillary rights necessary to the realization of the core right to possess a firearm for



                    Plaintiff explicitly acknowledged in his complaint that silencers are
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             “accessories for arms.” 2-SER-25.

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             self-defense.’” B & L Prods., Inc., 104 F.4th at 118 (quoting Teixeira v. Cnty. of

             Alameda, 873 F.3d 670, 677 (9th Cir. 2017) (en banc)). “Ancillary rights are

             protected to the extent necessary to serve” the interest of keeping and bearing arms

             “‘for lawful purposes, most notably for self-defense.’” B & L Prods., Inc., 104

             F.4th at 118 (quoting McDonald v. City of Chicago, 561 U.S. 742, 781 (2010)).

             Thus, in some circumstances, courts have recognized an ancillary Second

             Amendment right to possess components that are necessary to the functioning of a

             firearm. See Jackson v. City & Cnty. of San Francisco, 746 F.3d 953, 967 (9th Cir.

             2014) (recognizing the implied right to possess ammunition), abrogated on other

             grounds by Bruen, 597 U.S. 1; Fyock v. Sunnyvale, 779 F.3d 991, 998 (9th Cir.

             2015) (recognizing “some corollary, albeit not unfettered, right to possess the

             magazines necessary to render . . . firearms operable”), abrogated on other

             grounds by Bruen, 597 U.S. 1. In contrast, accessories that are not necessary to

             operate a firearm for self-defense are not protected by the Second Amendment.

             See Cox, 906 F.3d at 1186.

                  A silencer is “unnecessary to the essential operation of a firearm.” United

             States v. Berger, 715 F. Supp. 3d 676, 697–702 (E.D. Pa. 2024). Instead, the

             device is designed only to muffle the byproduct of normal firearm operation after it

             has been discharged—namely, lessening the “report” or sound associated with

             discharging a firearm. See Cal. Penal Code § 17210. In other words, a silencer is


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             simply not necessary to render a firearm operable or effectuate the right to armed

             self-defense.

                  Accordingly, every federal court to address this issue—both before and after

             Bruen—has concluded that silencers are not protected by the Second Amendment,

             with the vast majority concluding that silencers are not “Arms” under the plain

             constitutional text. See, e.g., Cox, 906 F.3d at 1186 (“[B]ecause silencers are not

             ‘bearable arms,’ they are outside the Second Amendment’s guarantee.”); United

             States v. Jernigan, 2024 WL 4294648, at *7–8 (E.D. Va. Sept. 25, 2024) (“a

             firearm does not require a silencer to operate, and without a silencer the right to

             bear arms would not be rendered meaningless”); Berger, 715 F. Supp. 3d at 697–

             702 (silencer not covered by text of Second Amendment “because it is merely an

             accessory which is unnecessary to the essential operation of a firearm”); Capen v.

             Campbell, 708 F. Supp. 3d 65, 89 (D. Mass. 2023) (similar); United States v.

             Peterson, 2023 WL 5383664, at *2 (E.D. La. Aug. 21, 2023) (“[S]ilencers are not

             bearable arms within the score of the Second Amendment even in light of Bruen or

             its progeny.”); United States v. Cooperman, 2023 WL 4762710, at *1 (N.D. Ill.

             July 26, 2023) (“The plain text of the Second Amendment does not protect

             accessories that are not bearable arms, such as silencers.”); Cox v. United States,

             2023 WL 4203261, at *7 (D. Alaska June 27, 2023) (similar); United States v.

             Villalobos, 2023 WL 3044770, at *12 (D. Idaho Apr. 21, 2023) (similar); United


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             States v. Saleem, 659 F. Supp. 3d 683, 695 (W.D.N.C. 2023) (similar); United

             States v. Al-Azhari, 2020 WL 7334512, at *3 (M.D. Fl. Dec. 14, 2020) (similar);

             United States v. Hasson, 2019 WL 4573424, at *4 (D. Md. Sept. 20, 2019)

             (similar).

                  As noted, plaintiff argues on appeal that the district court erred in its

             application of Supreme Court precedent when it dismissed his constitutional

             challenge. AOB at 2, 4. Yet he does not explain how the district court purportedly

             misapplied the pertinent cases. Indeed, the district court correctly applied Bruen’s

             two-step framework, concluding that, consistent with Heller, the historical

             definition of the term “Arms” does not include silencers, and thus such devices are

             not protected by the Second Amendment. 1-SER-6–8.

                  In the district court, plaintiff argued that “accessories for arms,” like silencers,

             “are arms themselves.” 2-SER-25. He further claimed that the device’s alleged

             utility for improved marksmanship allowed silencers to be used in both offensive

             and defensive situations, consistent with Heller’s definition of the term “Arms.” 2-

             SER-12. But the district court correctly held that “however desirable the silencer

             may be to a user in reducing noise, flash, or recoil, or in allowing the user to stay

             hidden while firing,” such characteristics are not determinative on whether an item

             is covered by the text of the Second Amendment. 1-SER-8. Indeed, as this Court

             has repeatedly acknowledged, “‘the Second Amendment does not elevate


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             convenience and preference over all other considerations.’” B & L Prods., Inc.,

             104 F.4th at 119 (quoting Teixeira, 873 F.3d at 680).

                  Silencers have no stand-alone utility in the case of confrontation and are not

             necessary to exercise the right to armed self-defense. Since the district court

             correctly held that plaintiff’s constitutional challenge fails at this threshold step,

             “the analysis can stop there.” Bruen, 597 U.S. at 18 (internal quotation marks and

             citation omitted).

                  B.    Silencers Are Not In Common Use for Self-Defense
                  Even if plaintiff could establish that silencers should otherwise qualify as

             “Arms” under the constitutional text, he failed to adequately plead that such

             instruments are self-defense weapons that are “‘in common use’ today for self-

             defense.” Bruen, 597 U.S. at 32 (quoting Heller, 554 U.S. at 627).

                  The Supreme Court has repeatedly emphasized that “individual self-defense is

             ‘the central component’ of the Second Amendment.” Bruen, 597 U.S. at 29, 32.

             Courts must therefore assess whether a weapon is “‘in common use’ today for self-

             defense” in determining whether it is presumptively protected. Id.; see id. at 81

             (Kavanaugh, J., concurring) (emphasizing this “important limitation”); Heller, 554

             U.S. at 624; Rahimi, 144 S. Ct. at 1897 (reiterating that “the [Second Amendment]

             right secures for Americans a means of self-defense”). The Ninth Circuit has

             followed Bruen’s guidance in explaining that part of the “Bruen step one” inquiry



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             is “whether the weapon at issue is ‘“in common use” today for self-defense.’”

             Alaniz, 69 F.4th at 1128.

                  In assessing common use for self-defense, the Supreme Court in Heller did

             not simply consider the prevalence of handguns (which was undisputed). Heller,

             554 U.S. at 629. Instead, it examined the objective features of the weapon at issue

             (the handgun) to explain why it is a “self-defense weapon.” 554 U.S. at 629. The

             Court explained that handguns are “easier to store in a location that is readily

             accessible in an emergency” due to their small size. Id. They are also “easier to

             use for those without the upper-body strength to lift and aim a long gun”; they “can

             be pointed at a burglar with one hand while the other hand dials the police”; and

             they “cannot easily be redirected or wrestled away by an attacker.” Id. In the

             same opinion, the Court recognized that some types of weapons fall outside the

             scope of the Second Amendment—“such as short-barreled shotguns,” and “M-16

             rifles and the like”—without any discussion of their popularity or prevalence. Id.

             at 625, 627. Thus, what mattered to the Court was an “examin[ation]” of “the

             character of the weapon.” Id. at 622; see id. at 623 (“[T]he Second Amendment

             right, whatever its nature, extends only to certain types of weapons.”).

                  In his complaint before the district court, plaintiff did not allege that silencers

             are typically used for “ordinary self-defense needs.” Bruen, 597 U.S. at 60. Nor

             did he make any allegations relevant to the pertinent characteristics of a silencer as


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             they related to self-defense. Nothing in the complaint thus permits a plausible

             inference that the objective features of silencers render silencers useful in armed

             confrontation. To the contrary, as explained above, plaintiff cannot establish that

             the devices, as defined by California law, are themselves weapons or that they have

             any utility for armed self-defense. A silencer is an accessory that can be attached

             to an otherwise operable firearm and that simply reduces the sound associated with

             the discharge of the weapon. See Cal. Penal Code § 17210. By definition, such an

             instrument has no stand-alone functionality that effectuates the Second

             Amendment right.

                  In his opposition to the Attorney General’s motion to dismiss, and now again

             on appeal, plaintiff claims that over three million silencers are owned in the United

             States. AOB at 2; see 2-SER-12–13 (comparing to Caetano v. Massachusetts, 577

             U.S. 411, 420 (2016) (Alito, J., concurring) (noting approximately 200,000

             civilians who owned stun guns)). Based on this assertion, he argues that silencers

             are “in common use” for purposes of Bruen’s step-one analysis. AOB at 2. But, as

             explained, the common-use inquiry looks at more than mere prevalence of an item

             in society. See Heller, 554 U.S. at 629. To be covered by the text of the Second

             Amendment, an arm must not only be commonly possessed or in common use

             generally, but be commonly used for self-defense purposes. Bruen, 597 U.S. at 32.




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                  This distinction illustrates the flaw in plaintiff’s reliance on Caetano. The per

             curiam opinion of the Supreme Court there summarily reversed a decision

             upholding a Massachusetts law prohibiting possession of stun guns because it

             failed to apply the standards set forth in Heller. Caetano, 577 U.S. at 411–12. In a

             concurrence joined by only one other justice, Justice Alito noted the prevalence of

             stun gun possession, citing the State’s acknowledgement that approximately

             200,000 stun guns were owned by civilians. Id. at 420 (Alito, J., concurring). But

             even that figure alone was not sufficient for the concurring justices to warrant

             Second Amendment protection. In the next sentence, Justice Alito explained that

             stun guns as “widely owned and accepted as a legitimate means of self-defense

             across the country.” Id.

                  Silencers, on the other hand, are not. Unlike a stun gun, a silencer is not itself

             a weapon. It simply alters the experience of firing an otherwise operable firearm.

             And even assuming the truth of plaintiff’s arguments below concerning silencers’

             benefits to marksmanship (which are not supported by any allegations in the

             complaint), such improvement to the gun firing experience does not inevitably

             establish that silencers are in common use for “ordinary self-defense.” Bruen, 597

             U.S. at 60; Or. Firearms Fed’n v. Kotek, 682 F. Supp. 3d 874, 919 (D. Or. 2023)

             (“This Court reads the qualifier of ‘ordinary self-defense needs’ to include some

             consideration of how and why firearms or firearm accessories are actually used in


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             typical self-defense scenarios.”). In other words, although there may be many

             silencers possessed throughout the country, plaintiff has failed to plausibly allege

             that these devices are commonly used to facilitate self-defense.

                  C.    Silencers are Dangerous and Unusual Items that May Be
                        Banned

                  Plaintiff’s constitutional challenge also fails at the threshold stage of the

             Bruen inquiry because silencers are a type of “dangerous and unusual” item that

             may be banned. See Bruen, 597 U.S. at 21; Heller, 554 U.S. at 627. These devices

             “fall outside of the Second Amendment’s protections” at the initial stage of the

             Bruen framework. Or. Firearms Fed’n, 682 F. Supp. 3d at 922 (citing Bruen, 597

             U.S. at 21); see Nat’l Ass’n for Gun Rights (NAGR) v. Lamont, 685 F. Supp. 3d 63,

             91 (D. Conn. 2023) (conducting “dangerous and unusual” inquiry at Bruen step

             one); see also Heller, 554 U.S. at 627 (discussing “dangerous and unusual”

             principle as part of its threshold discussion of what “sorts of weapons [are]

             protected” by the Second Amendment).

                  The phrase “dangerous and unusual” in describing this historical tradition is a

             hendiadys: a rhetorical device where “two terms separated by a conjunction work

             together as a single complex expression.” Bray, “Necessary and Proper” and

             “Cruel and Unusual”: Hendiadys in the Constitution, 102 Va. L. Rev. 687, 688

             (2016). In “dangerous and unusual,” “unusual” conveys some heightened “level of

             lethality or capacity for injury” that makes a particular type of weapon


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             “uncommonly dangerous,” Hanson v. District of Columbia, 120 F.4th 223, 238 n.7

             (D.C. Cir. 2024), not a numerical limit that bars prohibitions on a weapon as soon

             as a minimum number are in circulation. Silencers are “dangerous and unusual”

             devices that fall outside the scope of the Second Amendment. United States v.

             McCartney, 357 F. App’x 73, 76 (9th Cir. 2009); Comeaux, 2024 WL 115929, at

             *3.3

                    In both the district court and this Court, plaintiff has argued that silencers are

             not dangerous and unusual. However, although he claims that silencers are

             possessed by “over 3 million” people in the United States, AOB at 2, the mere

             prevalence of an item in society says nothing about whether that item has a

             heightened capacity for dangerousness. As several courts have previously

             recognized, silencers are indeed dangerous and unusual, and thus undeserving of

             constitutional protection. See, e.g., McCartney, 357 F. App’x at 76 (silencers fit

             within category of unusually dangerous weapons); Comeaux, 2024 WL 115929, at

             *3 (various devices, including silencers, have “the potential to substantially

             increase the level of violence when used in connection with criminal activity”);

             United States v. Grey, 2018 WL 4403979, at *13 (C.D. Cal. Sept. 13, 2018)



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                      Even if the “dangerous and unusual” inquiry requires a separate showing
             that the weapon in question is not “commonly possessed,” Fyock, 779 F.3d at 997,
             plaintiff here did not allege that silencers are commonly possessed by law-abiding
             citizens for ordinary self-defense, Bruen, 597 U.S. at 32.

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             (“[T]he Second Amendment does not extend to ‘dangerous and unusual weapons’

             such as silencers.”); United States v. Perkins, 2008 WL 4372821, at *4 (D. Neb.

             Sept. 23, 2008) (similar).

                  The function of a silencer—“silencing, diminishing, or muffling the report of

             a firearm,” Cal. Penal Code § 17210—increases the device’s capability for

             lethality. As one court explained, a silencer “has the potential to allow a criminal

             to fire more shots without detection, avoid apprehension after shooting someone,

             or both.” Comeaux, 2024 WL 115929, at *3. Where the sound of gunshots is

             muffled by a silencer, common sense dictates that it is necessarily more difficult to

             identify the location of a shooter, which in turn, makes it more difficult for

             potential victims to flee and for law enforcement to neutralize the danger.

             Moreover, according to plaintiff’s own arguments, see 2-SER-12, on top of the

             effect on the sound of gunfire, a silencer also diminishes a firearm’s muzzle flash,

             further aiding a shooter in concealing the location of gunfire, see Bianchi v. Brown,

             111 F.4th 438, 455 (4th Cir. 2024) (en banc) (devices that suppress a firearm’s

             flash help conceal the shooter’s position). Indeed, these characteristics have

             justified heavy regulation of silencers at the federal and state level since the early

             1900s. See infra. For these reasons, silencers are among the dangerous and

             unusual items that are not covered by the Second Amendment’s text.




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             II.   CALIFORNIA’S PROHIBITION ON SILENCERS IS CONSISTENT WITH THIS
                   NATION’S HISTORY AND TRADITION OF FIREARMS REGULATION

                   Even if plaintiff could satisfy his burden at the first stage of the Bruen inquiry

             to adequately allege that silencers are presumptively protected by the Second

             Amendment, California’s prohibition on silencers is consistent with “the historical

             tradition that delimits the outer bounds of the right to keep and bear arms.” Bruen,

             597 U.S. at 19. In conducting this “analogical inquiry”—at step two of the Bruen

             framework—a prior regulation identified by the government “must comport with

             the principles underlying the Second Amendment, but it need not be a ‘dead

             ringer’ or a ‘historical twin.’” Rahimi, 144 S. Ct. at 1898 (quoting Bruen, 597 U.S.

             at 29–30). Modern laws that are “relevantly similar” to historical regulations, in

             the sense that they “impose a comparable burden on the right of armed self-

             defense” that “is comparably justified,” are constitutional. Bruen, 597 U.S. at 29.

                   A.   The Supreme Court Clarified the Historical Inquiry in United
                        States v. Rahimi
                   The Supreme Court recently expounded on step two of the Bruen framework.

             See Rahimi, 144 S. Ct. at 1897–1903. In Rahimi, by an 8-1 vote, the Supreme

             Court rejected a Second Amendment challenge to 18 U.S.C. § 922(g)(8)(C)(i),

             which prohibits individuals subject to certain domestic violence restraining orders

             from possessing a firearm. 144 S. Ct. at 1903. Rahimi reiterated that “‘the right

             secured by the Second Amendment is not unlimited,’” does not “sweep



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             indiscriminately,” and is “not a right to keep and carry any weapon whatsoever.”

             Id. at 1897. The Court recognized that “some courts have misunderstood the

             methodology of [Bruen and Heller],” which “were not meant to suggest a law

             trapped in amber.” Id. It criticized the Fifth Circuit (and the dissent) for

             committing the “error[]” of “read[ing] Bruen to require a ‘historical twin’ rather

             than a ‘historical analogue.’” Id. at 1903; see also id. at 1925 (Barrett, J.,

             concurring) (“[I]mposing a test that demands overly specific analogues has serious

             problems.”).

                  The Court also explained that “the appropriate analysis involves considering

             whether the challenged regulation is consistent with the principles that underpin

             our regulatory tradition.” Rahimi, 144 S. Ct. at 1898 (majority opinion); see also

             id. at 1925 (Barrett, J., concurring) (“‘Analogical reasoning’ under Bruen demands

             a wider lens: Historical regulations reveal a principle, not a mold.”). In

             ascertaining those principles, moreover, it is appropriate to consider post-

             ratification laws and practices. See, e.g., id. at 1900 (majority opinion); id. at 1916

             (Kavanaugh, J., concurring) (“post-ratification history” can “be important for

             interpreting vague constitutional text and determining exceptions to individual

             constitutional rights”). Indeed, Rahimi relied on surety laws enacted in the mid-

             nineteenth century, long after ratification of the Second Amendment, to define the




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             relevant regulatory principle in that case. See id. at 1900 (majority opinion) (citing

             Bruen, 597 U.S. at 56 & n.23 (citing laws enacted between 1838 and 1868)).

                  Applying this methodology, the Rahimi Court had “no trouble concluding”

             that the historical analogues invoked by the government were sufficient to justify

             the challenged law, Rahimi, 144 S. Ct. at 1902 (majority opinion), even though

             those analogues were “by no means identical” to section 922(g)(8)(C)(i), id. at

             1902; see also id at 1897–98 (“[T]he Second Amendment permits more than just

             those regulations identical to ones that could be found in 1791.”). Among those

             analogues, the Court relied on territorial regulations, confirming that such laws

             may be appropriately relied on in Bruen’s historical analysis. Id. at 1900 (citing

             Bruen, 597 U.S. at 56 & n.23).

                  In her concurrence, Justice Barrett outlined two “serious problems” with an

             overly strict approach to Bruen’s historical analysis: (1) it “forces 21st-century

             regulations to follow late-18th-century policy choices, giving us ‘a law trapped in

             amber’” and (2) “it assumes that founding-era legislatures maximally exercised

             their power to regulate, thereby adopting a ‘use it or lose it’ view of legislative

             authority.” Rahimi, 144 S. Ct. at 1925 (Barrett, J., concurring); see also id. at 1905

             (Sotomayor, J., concurring) (recognizing that under the dissent’s more rigid

             approach, “the legislatures of today would be limited not by a distant generation’s




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             determination that such a law was unconstitutional, but by a distant generation’s

             failure to consider that such a law might be necessary”).

                  B.    The Historical Record Reflects a Robust Tradition of
                        Regulating Particular Weapons that Threaten Public Safety
                  As explained, the district court below held that silencers were not

             presumptively protected by the Second Amendment, thus finding it unnecessary to

             evaluate California’s prohibition under the second step of the Bruen framework.

             1-SER-8 n.3. Still, even a cursory review of the historical record reveals that

             California’s law fits well within the Nation’s regulatory tradition. 4 Governments

             have long adopted historical regulations that either curtail use or outright ban

             possession of particular weapons and accessories, where the instrument poses a

             heightened danger to society, so long as the restriction did not destroy the right to

             armed self-defense by leaving available other weapons for constitutionally

             protected uses. 5


                    4
                      As addressed above and acknowledged by plaintiff before the district court,
             see 2-SER-25, this case concerns a firearm accessory. In conducting Bruen’s
             “analogical inquiry,” where the Nation’s historical tradition shows a robust state
             police power to limit or ban dangerous and unusual weapons, it necessarily follows
             that a State may also, consistent with the Second Amendment, ban an accessory
             that enhances the lethality of a firearm or renders it prone to criminal misuse.
                    5
                     See John Forrest Dillon, The Right to Keep and Bear Arms for Public and
             Private Defence, 1 Cent. L. J. 259, 285 (1874) (“It would seem to follow that . . .
             while society may regulate this right . . . so as to promote the safety and good of its
             members, yet any law which should attempt to take it away, or materially abridge
             it, would be the grossest and most odious form of tyranny.”); id. at 287 (“On the
                                                                                      (continued…)

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                  In ratifying the Second Amendment, the founding generation “codified a right

             inherited from our English ancestors.” Bruen, 597 U.S. at 20 (quoting Heller, 554

             U.S. at 599). That “pre-existing right” was “not unlimited.” Id. at 20-21 (quoting

             Heller, 554 U.S. at 592, 626). As Blackstone described it, the right was

             understood as “a public allowance”—subject to “due restrictions” necessary to

             protect the peace. 1 Blackstone, Commentaries on the Laws of England 139

             (1769).6 The English Bill of Rights—“the predecessor to our Second

             Amendment”—guaranteed a right for certain subjects to “‘have Arms for their

             Defence suitable to their Conditions, and as allowed by Law.’” Heller, 554 U.S. at

             593 (quoting 1 Wm. & Mary, ch. 2, § 7 (1689)) (emphasis added); see also

             1 Blackstone, Commentaries 139. The phrase “as allowed by law” authorized

             governments to “restrain the use of some particular sort of arms.” Sharp, Tracts,

             Concerning the Ancient and Only True Legal Means of National Defence, by a

             Free Militia 17–18 (1782).




             one hand . . . society cannot justly require the individual to surrender and lay aside
             the means of self-protection in seasons of personal danger . . . . On the other hand,
             the peace of society and the safety of peaceable citizens plead loudly for protection
             against the evils which result from permitting other citizens to go armed with
             dangerous weapons, and the utmost that the law can hope to do is to strike some
             sort of balance between these apparently conflicting rights.”).
                    See also United States v. Wood, 299 U.S. 123, 138 (1936) (“Undoubtedly,
                    6

             as we have frequently said, the framers of the Constitution were familiar with
             Blackstone’s Commentaries.”).

                                                      27
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                  For example, the Crown restricted especially dangerous weapons like

             launcegays, pocket pistols, and crossbows to preserve the public order. Bruen, 597

             U.S. at 41–42; see, e.g., 7 Rich. 2, ch. 13 (1383); 33 Hen. 8, ch. 6, §§ 1–2, 18

             (1541). The focus on launcegays in medieval England “ma[de] sense” given that

             “lances were generally worn or carried only when one intended to engage in lawful

             combat or—as most early violations of the Statute [of Northampton] show—to

             breach the peace.” Bruen, 597 U.S. at 41. And Henry VIII’s ban on the possession

             of crossbows and pocket pistols sought “to protect the public” from the

             proliferation of those weapons and their use in “detestable and shameful murders,

             robberies, felonies, riot and route.” Schwoerer, Gun Culture in Early Modern

             England 59 (2016) (internal quotation marks omitted); see also id. at 55 (noting

             Henry VIII’s concern with “the newfangled and wanton pleasure that men now

             have in using of crossbows and handguns” (internal quotation marks omitted)).

                  That English tradition continued in America throughout each of the periods

             that Bruen identified as relevant to its historical inquiry. See Bruen, 597 U.S. at

             46–70. Colonial and state governments imposed regulations on firearms hardware,

             accessories, and other weapons deemed to pose threats to public safety at the time.

             During the colonial and founding era, most violent crimes were committed with

             weapons such as clubs, dirks, and daggers. See Bevis v. City of Naperville

             (Bevis I), 657 F. Supp. 3d 1052, 1070 (N.D. Ill. 2023) (“As early guns proved


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             unreliable, many citizens resorted to clubs and other blunt weapons.”).7 States and

             colonies “responded to the proliferation of these weapons.” Id. In 1686, for

             example, after a period of internal “strife and excitement,” Bruen, 597 U.S. at 48

             (internal quotation marks omitted), East New Jersey prohibited the concealed

             carrying of “pocket pistol[s], skeins, stilladers, daggers or dirks, or other unusual

             or unlawful weapons,” An Act Against Wearing Swords (1686), reprinted in The

             Grants, Concessions, and Original Constitutions of the Province of New Jersey

             289–90 (1881). Other colonies and early States prohibited the carrying of clubs

             and similar weapons increasingly used as fighting instruments. See Bevis I, 657 F.

             Supp. 3d at 1070 (detailing restrictions). 8 The Conductor Generalis—a founding-



                    7
                      During the colonial and founding period, governments also heavily
             regulated certain firearms and firearm accessories when those items posed
             heightened dangers to public safety. In 1771, for instance, New Jersey prohibited
             the keeping of firearms configured as trap guns, which used string or wire so that a
             loaded firearm would discharge automatically when a trap was sprung. See 1763-
             1775 N.J. Laws 346, ch. 539, § 10 (“Penalty for setting loaded Guns”). That “most
             dangerous” (id.) weapon configuration “[i]nevitably . . . wound up hurting or
             killing innocent[]” bystanders who set off the trap. Robert J. Spitzer,
             Understanding Gun Law History After Bruen: Moving Forward by Looking Back,
             51 Fordham Urb. L.J. 57, 101 (2023).
                    8
                     See, e.g., 1750 Mass. Acts 544, ch. 17, § 1 (prohibited the carry of “clubs
             or other weapons” in a group of 12 or more); 1786 Mass. Acts 87, ch. 38 (same);
             1788-1801 Ohio Laws 321, 323 (prohibited the carry of any “dangerous weapon”
             while committing a burglary); An Act to Describe, Apprehend and Punish
             Disorderly Persons § 2 (1799), reprinted in Laws of the State of New Jersey 474
             (Nettleton ed., 1821) (prohibited the carry of any pistol, hanger, cutlass, bludgeon,
             or other “offensive weapon” with intent to commit assault).

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             era guide for justices of the peace, sheriffs, and constables that relied heavily on

             the 1791 treatise of William Hawkins on English law—provided that the public

             offense of an “affray” could be committed “where there is no actual violence,”

             such as “where a man arms himself with dangerous and unusual weapons, in such a

             manner as will naturally cause a terror to the people.”9

                  Similar restrictions on particularly dangerous weapons and devices existed

             during the antebellum and postbellum period, around the time that the Fourteenth

             Amendment was ratified. As explained in one of the most important early

             American firearms cases, State v. Reid, 1 Ala. 612 (1840), the Second Amendment

             left “with the Legislature the authority to adopt such regulations of police, as may

             be dictated by the safety of the people and the advancement of public morals.” Id.

             at 616. The Supreme Court in Bruen recognized as much, citing the Arkansas

             Supreme Court’s approval of a state law (modeled on an earlier approach taken in

             Tennessee) that prohibited public carry of handguns broadly based on their

             dangerousness, while reserving an explicit exception that allowed for carry of




                    9
                     The Conductor Generalis: Or, the Office, Duty, and Authority of Justices
             of the Peace, High-Sheriffs, Under-Sheriffs, Coroners, Constables, Gaolers, Jury-
             Men, and Overseers of the Poor, and also The Office of Clerks of Assize, and of
             the Peace, & c., Albany, 1794, at 26.

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             military-style revolvers. Bruen, 597 U.S. at 53 n.20 (citing Fife v. State, 31 Ark.

             455 (1876)). 10

                  This era also saw widespread limitations on the carry and possession of

             particular “melee weapons” as they became prevalent and imperiled public safety

             due their unique dangerousness. Del. State Sportsmen’s Ass’n v. Del. Dep’t of

             Safety & Homeland Sec. (DSSA), 664 F. Supp. 3d 584, 600–01 (D. Del. 2023). For

             example, among other melee weapons regulated during the nineteenth century,

             states heavily regulated the sale and possession of slungshots—hand-held impact

             weapons with a weighted object at the end of a flexible strap. New York and

             Vermont passed laws in 1849 prohibiting the manufacture, sale, and possession of

             slungshots.11 Massachusetts banned the manufacture or sale of slungshots in 1850,

             followed by Kentucky in 1855, Florida in 1868, and the Dakota Territory in

             1877. 12 Texas and Arizona banned carry of slungshots in 1871 and 1889




                     See 1879 Tenn. Pub. Acts 135, ch. 96, § 1 (banning types of pistols); 1883
                    10

             Tenn. Pub. Acts 17, ch. 13, § 1 (banning the conveying of pistol cartridges); 1903
             S.C. Acts 127–28, No. 86 (banning the carry of certain short pistols).
                     1849 N.Y. Laws 403–04, ch. 278, §§ 1–2; 1849 Vt. Acts & Resolves 26,
                    11

             No. 36, §§ 1–2.
                    12
                       1850 Mass. Gen. Stat. ch. 194, § 2; 1855 Ky. Acts 96, ch. 636, § 1; 1868
             Fla. Stat., ch. 1637, reprinted in Blount et al., The Revised Statutes of the State of
             Florida 783, tit. 2, art. 5, § 2425 (1892); 1877 N.D. Laws 794, § 45.

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             respectively, while Illinois banned possession and sale in 1881, and Oklahoma

             banned both manufacture and carry in 1890. 13

                  Another melee weapon that rose to prominence during this period was the

             “Bowie knife,” a weapon used by Jim Bowie in a duel that later became

             widespread in the 1830s. See DSSA, 664 F. Supp. 3d at 600. The Bowie knife

             “gained notoriety as a ‘fighting knife.’” Bevis I, 657 F. Supp. 3d at 1068; see also

             Or. Firearms Fed’n, 682 F. Supp. 3d at 930–31. By 1840, at least five states or

             territories had enacted laws restricting the carrying of Bowie knives or other

             fighting knives. Bevis I, 657 F. Supp. 3d at 1068–69. A 1837 Georgia law made it

             unlawful “to sell, or offer to sell” a “Bowie” knife, “or to keep, or have [such a

             knife] about their person or elsewhere.”14 Other laws substantially restricted the



                    13
                      1871 Tex. Laws 25, § 1; 1889 Ariz. Sess. Laws Act 13, §§ 1–2; 1881 Ill.
             Laws 73, § 1; 1890 Okla. Sess. Laws 475-76, §§ 18–19; see 1917 Cal. Stat. 221,
             ch. 145, §§ 1–3 (banning manufacture and possession of certain weapons,
             including slungshots).
                    14
                       1837 Ga. Acts 90, § 1. Although the George Supreme Court held that the
             law’s carry restrictions as to pistols violated the Second Amendment in Nunn v.
             State, 1 Ga. 243 (1846), “Nunn did not concern, let alone mention, the law’s
             separate prohibition addressing the sale of weapons; nor did it reach beyond
             ‘pistols’ to address dangerous-and-unusual weapons like bowie knives. Therefore,
             this separate clause of the Georgia law remains a valid analogue to modern-day
             regulations on modern-day dangerous-and-unusual weapons.” Rupp v. Bonta,
             2024 WL 1142061, at *24 (C.D. Cal. Mar. 15, 2024); see also Hill v. State, 53 Ga.
             472 (1874) (disagreeing with Nunn and concluding that pocket pistols, dirks,
             Bowie knives, and “those other weapons of like character” fall outside the scope of
             the right to keep and bear arms).

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             use of Bowie knives, such as bans on sale in Tennessee and Arkansas, and an

             Alabama law that taxed them at a prohibitive rate. 15 Nearly every state enacted a

             law restricting Bowie knives by the end of the nineteenth century, whether by

             outlawing their possession, carry, or sale; enhancing criminal penalties; or taxing

             their ownership. See Bevis I, 657 F. Supp. 3d at 1069; DSSA, 664 F. Supp. 3d at

             601–02 (Bowie knife regulations were “extensive and ubiquitous” after such

             knives “proliferated in civil society” (internal quotation marks omitted)).16

                  As new technologies developed, twentieth century laws continued this

             historical tradition of restricting access to particular weapons and accessories with

             heightened lethality. 17 As to silencers specifically, the historical record indicates

             that such devices were considered particularly dangerous from the outset of their



                     See 1837-1838 Tenn. Pub. Act 200, ch. 137, § 1; 1881 Ark. Acts 191,
                    15

             §§ 1–3; 1837 Ala. Acts 7, No. 11, § 2.
                    16
                      See e.g., 1871 Tex. Laws 25, § 1 (banning carry); 1889 Ariz. Sess. Laws
             Act 13, §§ 1–2 (same).
                    17
                      In Bruen, the Supreme Court focused its historical analysis on the periods
             surrounding the ratification of the Second and Fourteenth Amendments,
             specifically rejecting the probative value of public carry laws passed in the
             twentieth century as contradictory of evidence from those earlier times. See Bruen,
             597 U.S. at 66 n.28. Because there is no such contradiction with respect to
             dangerous and unusual weapons regulations, restrictions on newly invented
             twentieth century weaponry, including silencers, are relevant here. See Rahimi,
             144 S. Ct. at 1916 (Kavanaugh, J., concurring) (where “reasonably consistent and
             longstanding,” “post-ratification history—sometimes referred to as tradition—can
             also be important for interpreting vague constitutional text and determining
             exceptions to individual constitutional rights”).

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             invention. As the court in Comeaux recounted, states began to ban their sale or

             possession shortly after they were patented in 1908. Comeaux, 2024 WL 115929,

             at *3; see, e.g., 1909 Me. L., ch. 129, p. 141; 1911 N.J. Laws, ch. 128, p. 185; 1912

             Vt. Acts & Resolves, No. 237, p. 310; 1913 Minn. L., ch. 64, p. 55; 1916 N.Y.

             Laws 338–39, ch. 137, § 1; 1926 Mass. Acts 256, ch. 261; 1927 Mich. Pub. Acts,

             No. 372, pp. 888–89; 1927 R.I. Pub. L., ch. 1052, p. 259. California followed suit

             in 1933, enacting the predecessor to the ban now challenged in this lawsuit. See

             1933 Cal. Stat., ch. 39, pp. 329–30. By the time the National Firearms Act was

             enacted in 1934—a law that, itself, placed strict restrictions on various dangerous

             weapons, including silencers—at least 15 states had imposed restrictions on the

             sale or possession of silencers. Comeaux, 2024 WL 115929, at *3.18

                  C.     California’s Prohibition on Silencers Is Consistent with
                         Regulatory Tradition
                  The historical regulation of particularly dangerous weapons confirms the

             principle that governments can, consistent with the Second Amendment, regulate

             particularly dangerous weapons that imperil public safety, so long as alternative

             weapons remain available for self-defense. California’s prohibition on silencers is

             consistent with that principle because it is “relevantly similar” to this unbroken

             history of restrictions on possession and use of particular weapons as they emerged


                    18
                      Among other weapons, the National Firearms Act banned possession of
             fully automatic machineguns. See Garland v. Cargill, 602 U.S. 406, 410 (2024).

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             and threatened public safety. Bruen, 597 U.S. at 29; see id. at 21; see also Ocean

             State Tactical, LLC v. Rhode Island, 95 F.4th 38, 44–48 (1st Cir. 2024)

             (concluding historical regulations of particularly dangerous weapons were

             “relevantly similar” to modern bans on large-capacity magazines).

                  To the extent California Penal Code Section 33410 imposes any burden at all

             on the right to armed self-defense, that burden is no greater than that imposed by

             the historical analogues detailed above because it restricts possession of a

             particularly dangerous item, but otherwise allows law-abiding citizens access to a

             range of other weapons to exercise their right to armed self-defense. See Bruen,

             597 U.S. at 29. The prohibition’s justification is likewise “comparable” to this

             body of historical regulations because, like these analogues, the prohibition turns

             on the unique dangerousness of the regulated item, especially when used for

             criminal purposes. Id. Indeed, as explained above, the innate characteristics and

             function of a silencer implicate a substantially heightened risk of lethality when

             used as designed because it helps conceal the shooter’s location and the fact that

             shots have been fired. Comeaux, 2024 WL 115929, at *3. The purpose of

             regulating silencers is thus highly analogous to the regulation of concealable

             weapons in the nineteenth century, which also “aimed at limiting what was viewed

             as a particularly dangerous feature of [pocket pistols]: their design as being readily




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             concealable, which was viewed as rendering them more deadly.” Or. Firearms

             Fed’n, 682 F. Supp. 3d at 906.

                  Although he does not address this point in his opening brief, plaintiff argued

             in the district court that the historical weapons regulations detailed above are not

             “relevantly similar” to California’s prohibition. 2-SER-13–15. He asserted, for

             example, that “[s]ilencers are nothing like a ‘slung shot.’” 2-SER-15 (citing 1849

             N.Y. Laws 403–04, ch. 278, §§ 1–2; 1849 Vt. Acts & Resolves 26, No. 36, §§ 1–

             2). But Bruen’s step-two analysis does not require that a historical analogue be a

             “‘dead ringer,’” but rather, focuses on whether the compared regulations are

             supported by a consistent underlying principle. Rahimi, 144 S. Ct. at 1898

             (quoting Bruen, 597 U.S. at 29–30). Possession bans for slungshots are “relevantly

             similar” to California’s silencer ban because both stem from legislative

             determinations that the item in question is exceedingly dangerous and should not

             be possessed by members of the public. Rahimi, 144 S. Ct. at 1901; Bruen, 597

             U.S. at 29–30. Moreover, even if California’s prohibition is not “distinctly

             similar” to the historical analogues outlined above, silencers—which were first

             patented in 1908—constituted the type of “‘dramatic technological change[]’” in

             firearm accessories that calls for a “‘more nuanced approach’” to Bruen’s historical

             inquiry. Wolford v. Lopez, 116 F.4th 959, 977 (9th Cir. 2024) (quoting Bruen, 597

             U.S. at 27). In short, the challenged prohibition is consistent with regulatory


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             tradition because it stands on a principle common among all of the historical

             analogues: exceedingly dangerous weapons may be restricted and banned.

                  Accordingly, the historical record demonstrates that California’s ban on

             silencers—to the extent it poses any burden on the right to armed self-defense—is

             constitutionally permissible. Bruen, 597 U.S. at 26–31. Plaintiff’s Second

             Amendment challenge to California’s restrictions on silencers cannot succeed as a

             matter of law.

                                                 CONCLUSION
                  The Court should affirm the district court’s judgment dismissing plaintiff’s

             complaint.



            Dated: December 20, 2024                    Respectfully submitted,


                                                         /s/ Kevin L. Quade

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                                     STATEMENT OF RELATED CASES

                     The State is not aware of any related cases, as defined by Ninth Circuit Rule

             28-2.6, that are currently pending in this Court and are not already consolidated

             here.

            Dated: December 20, 2024                    Respectfully submitted,


                                                         /s/ Kevin L. Quade

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